Case 2:04-Cv-02902-.]PI\/|-tmp Document 24 Filed 07/13/05 Pagelon Page.|D`Z?

lN T}[E uNITED sTATEs msTRlc'r coURT m BY z b_°_
FoR THE wEsTERN DISTIuCT oF TENNESSEE ' """
wEsTERN DIVISION _
05 JUL |3 AH||= 03
United States of America,
iHOW.S M. GOULD
Plaio¢irr, . U.S. !XSTHCT COlBT
W GF i?'~;, 1'~§§ S~J.PMS
vs. Civil No. 04-2902-M1/P

Thirty Nine Thousand Dollars ($39,000.00)
in United States Currency,

One 2002 Chevrolet Avalanche,
VI.N 3GNEK13T62G131404, with all
Appurtenances and Attachments Thereon,

Defendants.

 

ORDER EXTENDING MOTION DEADLINE

 

Upon motion of the Defendants Counsel, and without opposition from the government’s attomey, the
deadline for filing potentially dispositive motions in the above-styled case is extended to August 6, 2005.

IT IS SO ORDERED, this 13 day of JU.\U\[ , 2005

Q¢..@. fit O.QQ

N P. McCALLA
UN ED STATES DISTRICT IUDGE

 

APPROVED:

KM

oTMNAIFEFi #01}755
Attomey for the Defendant
227 Church Street
Tiptonville, TN 38079
Phone: 731-253-8885
Fax: 731-253-8886

This document entered on the docket Sh\a=et in Cdmpliance
w:rn mile 53 and/or ram FHGP on 7"/ '05

1 o¢¢m\`\ § 1

Es DISTRIT OURT - ESTNER ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02902 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Timothy A. langford

LAW OFFICES OF TIMOTHY A. LANGFORD
P.O. BOX 167

Hickman7 KY 42050

Blair Beavers Evans

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Timothy C. Naifeh

LAW OFFICES OF TIMOTHY C. NAIFEH
227 Church St.

Tiptonville7 TN 38079

Honorable J on McCalla
US DISTRICT COURT

